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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )         4:05CR3017 and
                    Plaintiff,               )         4:06CR3075
                                             )
      vs.                                    )
                                             )         ORDER
KENNETH J. SLOMINSKI,                        )
                                             )
                    Defendant.               )

      On the joint oral motion of the parties,

       IT IS ORDERED that the defendant’s evidentiary hearing and sentencing are
continued to Friday, August 24, 2007, from 9:00 a.m. to 4:30 p.m., before the undersigned
United States district judge, in Courtroom No. 1, Robert V. Denney Federal Building and
U.S. Courthouse, Lincoln, Nebraska. The defendant shall be present unless excused by the
court.

      June 27, 2007.                        BY THE COURT:

                                            s/ Richard G. Kopf
                                            United States District Judge
